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                   EXHIBIT A
                                                                                                                      E-FILED IN
                                                                                                                      E-FILED    OFFICE - RJ
                                                                                                                              IN OFFICE-RJ
                   Case 1:21-cv-05241-JPB Document 1-1 Filed 12/22/21 Page 2 of 11                                  CLERK OF
                                                                                                                    CLERK  OF STATE
                                                                                                                              STATE COURT
                                                                                                                                     COURT
                                                                                                                GWINNETT COUNTY,
                                                                                                                GWINNETT  COUNTY, GEORGIA
                                                                                                                                   GEORGIA
                                                                                                                          21 -C-08481-S3
                             IN THE
                             IN THE SUPERIOR COURT OF
                                    SUPERIOR COURT OF GWINNETT
                                                      GWINNETT COUNTY
                                                               COUNTY                                                     21-C-08481-S3
                                                                                                                     11/24/2021 3:42
                                                                                                                     11/24/2021  3:42 PM
                                                                                                                                      PM
                                                                                                                    TIANA
                                                                                                                    TIANA P.
                                                                                                                          P. GARNER,
                                                                                                                             GARNER, CLERK
                                                                                                                                     CLERK

                                                     STATE OF GEORGIA
                                                     STATE OF GEORGIA
        Hall
Antonio Hall
Antonio

                                                                                          CIVIL ACTION 21
                                                                                          CIVIL ACTION     -C-08481-S3
                                                                                                        21 -C-08481 -S3
                                                                                          NUMBER:
                                                                                          NUMBER:______________________

                                    PLAINTIFF
                                    PLAINTIFF


                       VS
                       VS.
SAC Wireless,
SAC Wireless, LLC
              LLC



                                   DEFENDANT
                                   DEFENDANT




                                                            SUMMONS
                                                            SUMMONS

TO THE
TO THE ABOVE
       ABOVE NAMED
             NAMED DEFENDANT:
                   DEFENDANT:

  You are
  You are hereby
          hereby summoned
                 summoned and
                          and required
                              required to
                                       to file
                                          file with
                                               with the
                                                    the Clerk
                                                        Clerk of said court
                                                              of said       and serve
                                                                      court and serve upon
                                                                                      upon the
                                                                                           the Plaintiffs
                                                                                               Plaintiff's attorney,
                                                                                                           attorney, whose name
                                                                                                                     whose name
and address
and         is:
    address is:
     Michael J.
     Michael J. Warshauer
                Warshauer
     Warshauer
     Warshauer Law  Group, P.C.;
                Law Group,       2740 Bert
                           P.C.; 2740 Bert Adams
                                           Adams Road,
                                                 Road, Atlanta,
                                                       Atlanta, GA 30339
                                                                GA 30339



an answer
an answer to
           to the complaint which
              the complaint  which isis herewith
                                        herewith served
                                                 served upon
                                                        upon you,   within 30
                                                              you, within      days after
                                                                           30 days  after service
                                                                                          service of
                                                                                                   of this
                                                                                                      this summons
                                                                                                           summons upon
                                                                                                                   upon you,   exclusive of
                                                                                                                          you, exclusive of
the day
the day of service. If
        of service.    you fail
                    If you fail to
                                to do
                                   do so, judgment by
                                      so, judgment  by default will be
                                                       default will be taken  against you
                                                                       taken against       for the
                                                                                      you for  the relief
                                                                                                   relief demanded
                                                                                                           demanded in
                                                                                                                    in the complaint.
                                                                                                                       the complaint.
     24th
This 24th
This                                November
                                 of November
                             day of
                             day                                                  2021.
                                                                                , 20 21

                                                                                    Tiana P.
                                                                                    Tiana  P. Garner
                                                                                              Garner
                                                                                 Clerk of
                                                                                 Clerk of Superior
                                                                                          Superior Court
                                                                                                   Court
                                                                                                          /
                                                                                 By
                                                                                 Bv         r:
                                                                                                 Deputy Clerk
                                                                                                 Deputy Clerk
                                                                                                  •
INSTRUCTIONS: Attach
INSTRUCTIONS: Attach addendum sheet for
                     addendum sheet     additional parties
                                    for additional         if needed,
                                                   parties if         make notation
                                                              needed, make notation on
                                                                                    on this sheet if
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                                                                                                                    is used.
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SC-1 Rev.
SC-1 Rev. 2011
          2011
                                                                                           E-FILED IN OFFICE - RJ
        Case 1:21-cv-05241-JPB Document 1-1 Filed 12/22/21 Page 3 of 11                  CLERK OF STATE COURT
                                                                                     GWINNETT COUNTY, GEORGIA
                                                                                              21-C-08481-S3
                                                                                         11/24/2021 3:42 PM
                                                                                         TIANA P. GARNER, CLERK

                   IN THE STATE COURT OF GWINNETT COUNTY

                                   STATE OF GEORGIA


  ANTONIO HALL,                                         JURY TRIAL DEMANDED

                Plaintiff,

       v.                                                    CIVIL ACTION
                                                          FILE NO.: ____________
  SAC WIRELESS, LLC,
                                                                       21-C-08481-S3
                Defendant.


                              COMPLAINT FOR DAMAGES

       This is a negligence action. Defendant rented a crane for work it was doing on a

cell tower. The work was likely to be within ten feet of a power line. Defendant failed to

comply with the Georgia High-Voltage Safety Act. Plaintiff, who did not work for

Defendant and was not working for its benefit, was walking past the crane when it

contacted the power line and he was electrocuted.

                                           PARTIES

                                               1.

       Plaintiff Antonio Hall (“Plaintiff” or “Hall”) is a resident of Covington, Newton

County, Georgia and a citizen of the state of Georgia.

                                               2.

       Defendant SAC Wireless, LLC (“SAC”) is a foreign limited liability company with

its principal place of business at 300 Airport Rd, Suite 1, Elgin, Illinois 60123. It is a wholly

owned subsidiary of Nokia Corporation, a Dutch company.
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                                             3.

       Defendant SAC may be served with process through its registered agent,

Corporation Service Company, 2 Sun Court, Suite 400, Peachtree Corners, Georgia 30092.

                                             4.

       Defendant SAC has an office in Georgia to service Georgia customers, sells its

services to Georgia customers for use by Georgia customers in Georgia, and committed a

tortious act in Georgia.

                                             5.

       Defendant SAC is subject to the jurisdiction of this Court.

                                             6.

       Defendant SAC has been duly and appropriately served with summons and

complaint as allowed by law.

                                             7.

       Venue is proper in this Court because the cause of action originated in this state

and in this county and because a portion of the tortious acts and omissions, as well as the

injury, occurred in this state and county.

                                         FACTS

                                             8.

       On August 18, 2020, SAC entered into a daily/weekly short-term service

agreement with Maxim Crane Works (“Maxim”) to lease a crane for use relating to work

on a cell phone tower at the job address of 1676 Juliette Road, Stone Mountain, Gwinnett

County, Georgia (the “job site”).



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                                            9.

       At all times relevant to this action, Jamie Houser, Joshua Decesare, James Argo,

and Norman Billinton (collectively referred to as “jobsite employees”) were employees

and agents of SAC and were acting within the scope of that agency.

                                            10.

       SAC is liable for the negligence and actions of its jobsite employees by virtue of

respondeat superior.

                                            11.

       The jobsite employees, as agents and employees of SAC, and SAC were required

by Georgia’s High-Voltage Safety Act, as the persons responsible for the work at the job

site, to contact the Utilities Protection Center at least 72 hours prior to commencing work

at the job site so that the power company would know that work was being done within

ten feet of a power line.

                                            12.

       The jobsite employees, as agents and employees of SAC, and SAC were required

by Georgia’s High-Voltage Safety Act, as the persons responsible for the work at the job

site, to assure that no work was commenced within ten feet of power lines until

appropriate arrangements were made with the power company to effectively guard

against the danger from accidental contact with the power lines at the job site.

                                            13.

       Plaintiff was not under the control, direction, or employment of Defendant at any

time relevant to this action and was solely the employee of Maxim.



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                                            14.

      Plaintiff was not the operator or maintainer of the crane SAC leased from Maxim.

                                            15.

      At the time Plaintiff arrived at the job site on August 20, 2020, all of the work being

done for SAC by Maxim’s employees, including by the crane’s operator employed by

Maxim, had been completed.

                                            16.

      Plaintiff’s work at the job site was to assist in preparing the crane after all work for

SAC had been completed, so that it could be removed from the job site.

                                            17.

      Even if Plaintiff was SAC’s statutory employee, SAC had explicitly agreed that any

protections that might have been afforded it by Georgia’s Worker’s Compensation Act

did not apply to its relationship with Maxim’s employees.

                                            18.

      SAC had explicitly agreed that Plaintiff was not its employee and that it had no

obligations or protections relating to Plaintiff pursuant to Georgia’s Worker’s

Compensation Act as to Maxim’s employees.

                                            19.

      SAC and Maxim agreed in their respective contracts and documents that SAC was

not responsible for worker’s compensation for Maxim’s employees. In doing so, SAC

waived any protections it might otherwise have had, even if Plaintiff was working for the

benefit of SAC at the time of his injury, pursuant to Georgia worker’s compensation



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statutes.

                                            20.

       On August 20, 2020, after the completion of Maxim’s contracted work for SAC,

Plaintiff Hall was performing his normal and ordinary duties as a ground man, employed

by and working for the benefit of Maxim, assisting in the take down of the crane when

the crane contacted an energized electrical distribution line.

                                            21.

       At the time the crane contacted the distribution line, Plaintiff Hall made incidental

contact with one of the outriggers as he walked by it and was severely electrocuted when

the current from the electrical distribution line flowed through the crane, through

Plaintiff, and then to the ground.

                                            22.

       Defendant was aware that if the crane contacted an energized power line, any

person on the ground that was in contact with the crane could be seriously injured.

                                            23.

       Defendant consciously chose to put expediency ahead of safety by not complying

with the Georgia High-Voltage Safety Act.

                                            24.

       Because Defendant did not comply with the Georgia High-Voltage Safety Act, the

power company had not been told to take steps to minimize the likelihood of

electrocution injuries to Plaintiff and others who were working near equipment that was

near the power lines.



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                                             25.

       Because Defendant did not comply with the Georgia High-Voltage Safety Act, the

power company did not take steps to minimize the likelihood of electrocution injuries to

Plaintiff and others who were working near the power lines and Plaintiff was injured.

                                             26.

       Plaintiff Hall was seriously injured and has incurred past and future medical

expenses and life care expenses as a result of these injuries through the date of the filing

of this action.

                                             27.

       In addition to medical expenses, Plaintiff Hall has suffered past and future wage

losses through the date of the filing of this action and Plaintiff Hall will suffer additional

wage losses in the future.

                                             28.

       Plaintiff has also suffered past and future general damages including pain,

suffering, lost capacity to work, and disfigurement in the form of scars and the

amputation of his left leg.

                              COUNT ONE
              (NEGLIGENCE AGAINST DEFENDANT SAC WIRELESS)

                                             29.

       Plaintiff realleges and incorporates by reference paragraphs 1-28 of the Complaint

as if they were fully restated verbatim herein.

                                             30.

       Defendant SAC is liable for the conduct of its employees and agents including


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the jobsite employees, who failed to comply with the Georgia High-Voltage Safety Act

and were careless in failing to ensure that steps were taken so that work at the job site

could be safely done near the power lines.

                                             31.

       As a direct and proximate result of Defendant SAC’s failure to comply with the

Georgia High-Voltage Safety Act imposing strict liability, and as a result of its negligence,

Plaintiff Hall was caused to suffer injuries and damages, including medical expenses, lost

income and benefits, and mental and physical pain and suffering and disfigurement.

These injuries are permanent and, in the future, Plaintiff Hall will suffer medical and

other necessary expenses, loss of earning capacity and earnings, loss of capacity to labor,

and mental and physical pain and suffering. Plaintiff Hall is entitled to a judgment for

these damages in an amount proven at trial.

                           COUNT TWO
         (PUNTIVE DAMAGES AGAINST DEFENDANT SAC WIRELESS)

                                             32.

       Plaintiff realleges and incorporates by reference paragraphs 1-31 of the Complaint

as if they were fully restated verbatim herein.

                                             33.

       Defendant did not have in place a practice, policy, or procedure for ensuring

compliance with the Georgia High-Voltage Safety Act.

                                             34.

       This failure is grossly negligent given the demands of Defendant’s work, which

requires it and those working at the job site with it to be working near high voltage lines.


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                                           35.

      Defendant’s failure to comply with the Georgia High-Voltage Safety Act exhibited

a willful, wanton, callous disregard for human safety and welfare.

                                           36.

      As a direct and proximate result of Defendant SAC’s willful and wanton failure to

comply with the Georgia High-Voltage Safety Act, punitive damages should be imposed

against it, and awarded to Plaintiff, in an amount sufficient to both punish and deter

similar conduct.

      WHEREFORE, Plaintiff prays that summons issue, that Defendant be served and

made to appear and answer, that a JURY TRIAL be held, and that Plaintiff be awarded

judgment in Plaintiff’s favor and against Defendant, as follows:

      (a)    Under Count One, Plaintiff Hall be awarded special and general damages

against Defendants in an amount to be proven at trial;

      (b)    Under Count Two, punitive damages be imposed against Defendant and

awarded to Plaintiff in an amount sufficient to both punish and deter similar conduct.;

      (c)    That the cost of this action be levied against Defendants; and,

      (d     That Plaintiff be awarded such other and further relief as this Court deems

just and proper.

      This 24th day of November, 2021.



                               Signature block on next page




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                                             Respectfully submitted,

                                             WARSHAUER LAW GROUP, P.C.

                                             By: /s/Michael J. Warshauer
                                             Michael J. Warshauer
                                             Georgia Bar No. 018720
                                             Trent Shuping
                                             Georgia Bar No. 159083

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